Case 1:11-cv-20427-KMW Document 635-4 Entered on FLSD Docket 11/15/2013 Page 1 of 4




            EXHIBIT 3
Case 1:11-cv-20427-KMW Document 635-4 Entered on FLSD Docket 11/15/2013 Page 2 of 4
                      HIGHLY CONFIDENTIAL ATTORNEYS EYES ONLY

    1                        UNITED STATES DISTRICT COURT
    2                        SOUTHERN DISTRICT OF FLORIDA
    3
    4       DISNEY ENTERPRISES, INC.,
            TWENTIETH CENTURY FOX FILM
    5       CORPORATION, UNIVERSAL CITY
            STUDIOS PRODUCTIONS LLLP,
    6       COLUMBIA PICTURES INDUSTRIES,
            INC., and WARNER BROS.
    7       ENTERTAINMENT INC.,
    8                               Plaintiffs,
    9       vs.                             No. 11-20427-WILLIAMS-TURNOFF
   10       HOTFILE CORP., ANTON TITOV, and
            DOES 1-10,
   11
   12                               Defendants.
   13       ________________________________________________________
   14
   15                PORTIONS OF THIS TRANSCRIPT ARE CONFIDENTIAL
   16                         DEPOSITION OF YANGBIN WANG
   17                           Palo Alto, California
   18                        Thursday, December 22, 2011
   19
   20
   21       REPORTED BY:
            LYNNE LEDANOIS
   22       CSR No. 6811
            Job No. CA128631
   23
   24
   25    PAGES 105 - 113 ARE HIGHLY CONFIDENTIAL ATTORNEYS' EYES ONLY

                                                                     Page 1

                              Sarnoff, A VERITEXT COMPANY
                                         877-955-3855
Case 1:11-cv-20427-KMW Document 635-4 Entered on FLSD Docket 11/15/2013 Page 3 of 4
                      HIGHLY CONFIDENTIAL ATTORNEYS EYES ONLY

    1      database?                                                       10:03:25

    2           A      No.                                                 10:03:26

    3                  MR. TIFFANY:    Is that your phone?                 10:03:40

    4                  THE WITNESS:    Yes.                                10:03:42

    5                  MR. LEIBNITZ:    Sorry.   I have to wait for that   10:03:42

    6      finish before the question gets asked.                          10:03:44

    7      BY MR. LEIBNITZ:                                                10:03:46

    8           Q      Do the plaintiff studios pay Vobile anything to     10:03:46

    9      include their movies and television shows in the                10:03:49

   10      database?                                                       10:03:52

   11           A      No.                                                 10:03:53

   12           Q      So why do they do it, if you know?                  10:04:00

   13           A      Why do they do what?                                10:04:03

   14                  MR. PLATZER:    Objection to the form.              10:04:05

   15      BY MR. LEIBNITZ:                                                10:04:06

   16           Q      Why do movie studios such as the plaintiffs         10:04:07

   17      provide fingerprints to Vobile?                                 10:04:09

   18                  MR. PLATZER:    Same objection.                     10:04:12

   19                  THE WITNESS:    It's for -- you know, we need to    10:04:14

   20      identify the content and we need to have the reference          10:04:18

   21      fingerprint.      So without the reference fingerprint, it      10:04:21

   22      won't work, the system.                                         10:04:27

   23      BY MR. LEIBNITZ:                                                10:04:28

   24           Q      Do you have an understanding yourself as to why     10:04:34

   25      the movie studios cooperate with Vobile?                        10:04:36

                                                                           Page 20

                                 Sarnoff, A VERITEXT COMPANY
                                            877-955-3855
Case 1:11-cv-20427-KMW Document 635-4 Entered on FLSD Docket 11/15/2013 Page 4 of 4
                      HIGHLY CONFIDENTIAL ATTORNEYS EYES ONLY

    1                 MR. PLATZER:   Objection to the form.            10:04:40

    2                 THE WITNESS:   They use this for antipiracy      10:04:44

    3      purpose.                                                    10:04:49

    4      BY MR. LEIBNITZ:                                            10:04:55

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15           Q     What is Video Tracker?                           10:05:12

   16           A     Video Tracker is basically a targeted video      10:05:14

   17      search product that allows content owners to identify       10:05:20

   18      content online.                                             10:05:24

   19           Q     What is it used for?                             10:05:28

   20           A     As I said, used for content owners to find       10:05:32

   21      their assets online.                                        10:05:35

   22           Q     Does it effectively crawl the Web, or how does   10:05:40

   23      it work?                                                    10:05:43

   24           A     Yes, crawl the Web, you know, very much like     10:05:43

   25      Google search, but it specialize on video, and we verify    10:05:46

                                                                       Page 21

                               Sarnoff, A VERITEXT COMPANY
                                          877-955-3855
